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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION

  VANESSA DAVIS,

          Plaintiff,                                           CASE NO. 0:12-cv-60988-KMW

  v.

  FOCUS RECEIVABLES MANAGEMENT, LLC,

        Defendant.
  _____________________________________/

                   PLAINTIFF’S VERIFIED FIRST AMENDED COMPLAINT
                            AND DEMAND FOR JURY TRIAL

         COMES NOW the Plaintiff, VANESSA DAVIS (“Plaintiff”), by and through the

  undersigned attorneys, KROHN & MOSS, LTD., and for Plaintiff’s First Amended Complaint

  against Defendant, FOCUS RECEIVABLES MANAGEMENT, LLC, (“Defendant”), alleges

  and affirmatively states as follows:

                                         INTRODUCTION
          1.      Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices

  Act, 15 U.S.C. 1692 et seq. (FDCPA).

                                   JURISDICTION AND VENUE
          2.      Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

  such actions may be brought and heard before “any appropriate United States district court

  without regard to the amount in controversy.”

          3.      Because Defendant conducts business in the State of Florida, personal

  jurisdiction is established.

          4.      Venue is proper pursuant to 28 U.S.C. 1391(b)(2).




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                                               PARTIES
         5.      Plaintiff is a natural person who resides in Lauderhill, Broward County, Florida

  and is obligated or allegedly obligated to pay a debt and is a “consumer” as that term is defined

  by 15 U.S.C. 1692a(3).

         6.      Plaintiff is informed, believes, and thereon alleges, that Defendant is a national

  company with a business office in Marietta, Cobb County, Georgia.

         7.      Defendant acted through its agents, employees, officers, members, directors,

  heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

         8.      Plaintiff is informed, believes, and thereon alleges, that Defendant uses

  instrumentalities of interstate commerce or the mails in any business the principal purpose of

  which is the collection of any debts, or who regularly collects or attempts to collect, directly or

  indirectly, debts owed or due or asserted to be owed or due another and is a "debt collector" as

  that term is defined by 15 U.S.C. § 1692a(6).

                                    FACTUAL ALLEGATIONS
         9.      Since approximately August 2011, Defendant has been placing calls to Plaintiff

  seeking and demanding payment for an alleged debt originally owed to Direct TV. Plaintiff

  does not owe this debt as she never had Direct TV service.

         10.     Defendant calls Plaintiff from 1-800-897-8296 and 1-866-664-2513 on Plaintiff’s

  home number of 305-303-6413.

         11.     Defendant has called Plaintiff up to 4 times per day and calls Plaintiff on a virtual

  daily basis.

         12.     Plaintiff has repeatedly advised Defendant she does not owe the debt and to stop

  calling, but Defendant continues to call Plaintiff.




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         13.     During a conversation on or about October 14, 2011, Defendant’s collector called

  Plaintiff a “b*tch” at the end of a conversation during which Defendant was again trying to

  collect a debt Plaintiff does not owe.

         14.     As a result of Defendant’s calls, and calling Plaintiff a profane word, Plaintiff

  suffered emotional distress, anguish, depression and mental suffering. When Defendant calls

  Plaintiff, Plaintiff feels stress, aggravation, anguish, and anxiety.

                                COUNT I
      DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT,
                      (FDCPA), 15 U.S.C. § 1692 et seq.

         16.     Defendant violated the FDCPA. Defendant’s violations include, but are not

  limited to the following:

         a)      Defendant violated §1692d of the FDCPA by engaging in conduct of which the

  natural result is the abuse and harassment of the Plaintiff;

         b)      Defendant violated §1692d(2) of the FDCPA by calling Plaintiff a profane name.

         c)      Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring

  repeatedly and continuously with the intent to annoy, abuse, and harass Plaintiff.


         WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

  Defendant for the following:

         17. Actual damages to compensate Plaintiff for mental anguish, emotional distress,

  anxiety, depression and inconvenience caused by Defendant in an amount to be determined by

  the trier of fact pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. 1692;

         18. Statutory damages of $1,000.00 pursuant to the FDCPA, 15 U.S.C. 1692k;

         19. Costs and reasonable attorney’s fees pursuant to the FDCPA, 15 U.S.C. 1692k; and

         20. Any other relief that this court deems to be just and proper.




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                                    RESPECTFULLY SUBMITTED,


                                      By: /s/ Shireen Hormozdi
                                           Shireen Hormozdi
                                           Krohn & Moss, Ltd
                                          10474 Santa Monica Blvd., Suite 401
                                           Los Angeles, CA 90025
                                           Phone: (323) 988-2400 ext. 267
                                           Fax: (866) 802-0021
                                           Attorney for Plaintiff
                                           FBN: 0882461




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                             DEMAND FOR JURY TRIAL

          PLEASE TAKE NOTICE that Plaintiff, VANESSA DAVIS, hereby demands trial by

  jury in this action.




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                    VERIFICATION OF COMPLAINT AND CERTIFICATION

  STATE OF FLORIDA)
  COUNTY OF BROWARD)
  Plaintiff, VANESSA DAVIS, says as follows:

     1.      I am a Plaintiff in this civil proceeding.
     2.      I have read the above-entitled civil Complaint prepared by my attorneys and I believe
             that all of the facts contained in it are true, to the best of my knowledge, information
             and belief formed after reasonable inquiry.
     3.      I believe that this civil Complaint is well grounded in fact and warranted by existing
             law or by a good faith argument for the extension, modification or reversal of existing
             law.
     4.      I believe that this civil Complaint is not interposed for any improper purpose, such as
             to harass any Defendant(s), cause unnecessary delay to any Defendant(s), or create a
             needless increase in the cost of litigation to any Defendant(s), named in the
             Complaint.
     5.      I have filed this Complaint in good faith and solely for the purposes set forth in it.
     6.      Each and every exhibit I have provided to my attorneys which has been attached to
             this Complaint is a true and correct copy of the original.
     7.      Except for clearly indicated redactions made by my attorneys where appropriate, I
             have not altered, changed, modified or fabricated these exhibits, except that some of
             the attached exhibits may contain some of my own handwritten notations.
  Pursuant to 28 U.S.C. § 1746(2), I, VANESSA DAVIS, hereby declare (or certify, verify or
  state) under penalty of perjury that the foregoing is true and correct.

  Dated:_______________                            ________________________________________
                                                   VANESSA DAVIS
                                                        Plaintiff




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